       Case 4:19-cv-01497-MWB Document 50 Filed 08/20/20 Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

AMERICAN BUILDERS                              No. 4:19-CV-01497
INSURANCE COMPANY,
                                               (Judge Brann)
           Plaintiff,
     v.

KEYSTONE INSURERS GROUP,
INC., and EBENSBURG INSURANCE
AGENCY,

           Defendants.

                                  ORDER

     AND NOW, this 20th day of August 2020, in accordance with the

accompanying Memorandum Opinion, IT IS HEREBY ORDERED that the Joint

Motion of Defendants to Stay Civil Proceeding Pending Resolution of Prior

Pending Civil and Administrative Law Proceedings, Doc. 31, is DENIED.



                                         BY THE COURT:


                                         s/ Matthew W. Brann
                                         Matthew W. Brann
                                         United States District Judge
